       Case 1:23-cv-00079-ABJ Document 181-2 Filed 05/15/24 Page 1 of 4




 Patrick J. Murphy, WSB No. 5-1779
 Scott C. Murray, WSB No. 7-4896
 WILLIAMS, PORTER, DAY & NEVILLE, P.C.
 159 N. Wolcott Street, Ste. 400
 P.O. Box 10700 (82602)
 Casper, WY 82601
 Email: pmurphy@wpdn.net
         smurray@wpdn.net



                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF WYOMING

  BCB CHEYENNE LLC d/b/a BISON
  BLOCKCHAIN, a Wyoming limited liability )
  company,                                   )
                                             )
                      Plaintiff,             )
  v.                                         )
                                             )
  MINEONE WYOMING DATA CENTER                )
  LLC, a Delaware limited liability company; )
  MINEONE PARTNERS LLC, a Delaware           )
  limited liability company; TERRA           )   Civil Action No. 23-CV-79-ABJ
  CRYPTO, INC., a Delaware corporation;      )
  BIT ORIGIN, LTD, a Cayman Island           )
  Company; SONICHASH LLC, a Delaware         )
  limited liability company; BITMAIN         )
  TECHNOLOGIES HOLDING COMPANY, )
  a Cayman Island Company; BITMAIN           )
  TECHNOLOGIES GEORGIA LIMITED, a            )
  Georgia corporation; and JOHN DOES 1-18, )
  related persons and companies who control  )
                                             )
  or direct some or all of the named
  Defendants.

                           Defendants.


                     EXHIBIT A
      BCB CHEYENNE LLC D/B/A BISON BLOCKCHAIN’S
  SUBPOENA DUCES TECUM TO CHEYENNE LIGHT, FUEL, AND
POWER COMPANY D/B/A BLACK HILLS ENERGY, A SUBSIDIARY OF
              BLACK HILLS CORPORATION
          Case 1:23-cv-00079-ABJ Document 181-2 Filed 05/15/24 Page 2 of 4




       Cheyenne Light, Fuel, and Power Company (“CLFPC”) (d/b/a Black Hills Energy), a subsidiary of

Black Hills Corporation, is commanded to produce copies of the following documents to Patrick J. Murphy

at WILLIAMS, PORTER, DAY & NEVILLE, P.C. at 159 N. Wolcott Street, Suite 400, Casper, WY 82601, or

by emailing the documents to pmurphy@wpdn.net by May 21, 2024 at 10:00 a.m., as follows:


                                           DEFINITIONS

  1.      "Document" shall have the full meaning ascribed to it in Rule 34 of the Federal Rules of

  Civil Procedure and shall include every writing or record of every type and description,

  including, but not limited to, agreements, contracts, contract files, correspondence, memoranda,

  publications, pamphlets, promotional materials, studies, books, tables, charts, graphs, schedules,

  e-mails, text messages, photographs, films, voice recordings, reports, surveys, analyses, journals,

  ledgers, telegrams, stenographic or handwritten notes, minutes of meetings, transcripts, financial

  statements, purchase orders, vouchers, invoices, bills of sale, bills of lading, credit and billing

  statements, checks, manuals, circulars, bulletins, instructions, sketches, diagrams, computer

  programs, printouts, punch cards, tabulations, logs, telephone records, desk calendars, diaries,

  appointment books, computer data, tapes, and disks; and includes all drafts or copies of every

  such writing or record whenever a draft or copy of a document is not an identical copy of the

  original or where such draft or copy contains any commentary or notes that do not appear on the

  original.

  2.      "Communications" shall mean all written, oral, telephonic, electronic, e-mail, text, or

  other transmittal of words, thoughts, ideas, and images, including, but not limited to, inquiries,

  discussions, conversations, negotiations, agreements, understandings, meetings, letters, notes,

  telegrams, advertisements, press releases, publicity releases, trade releases, and interviews.
                  Case 1:23-cv-00079-ABJ Document 181-2 Filed 05/15/24 Page 3 of 4




          3.        The term "relating to" shall mean directly or indirectly mentioning or describing,

          comprising, consisting of, referring to, reflecting on, or being in any way logically or

          factually connected with the matter discussed.

                                            DOCUMENTS REQUESTED

I.         Please provide all documents and communications by, between, and among representatives of
           CLFPC, MineOne Wyoming Data Center LLC, CleanSpark, Inc., and CSRE Properties
           Wyoming, LLC, (a wholly owned subsidiary of CleanSpark, Inc) relating to the Purchase and
           Sale Agreement 1, dated May 8, 2024 by and among CSRE Properties Wyoming, LLC, Terra
           Crypto, Inc. and MineOne Wyoming Data Center, LLC that was filed with the U.S. Securities
           and Exchange Commission (“SEC”) and is publicly available.

 II. Please provide all documents and communications by, between, and among representatives of
      CLFPC, MineOne Wyoming Data Center LLC, CleanSpark, Inc., and CSRE Properties
      Wyoming, LLC, (a wholly owned subsidiary of CleanSpark, Inc.), or any of them, relating to
      CLFPC’s confirmations of “additional electrical power of 25 megawatts in North Range and
      30 megawatts in Campstool (for the avoidance of doubt, the 75 megawatts are currently
      available, and 55 megawatts are conditional on utility load confirmation).” (see Purchase and
      Sale Agreement). Please note: this request includes the documents and communications
      relating to the source of the electrical power generation (i.e., coal or renewable) for (1) the 75
      megawatts and (2) the 55 megawatts defined under the Purchase and Sale Agreement being
      confirmed and supplied to Buyer.

 III. Please provide Sections 2, 3, and 4 of the CHEYENNE LIGHT, FUEL AND POWER
      COMPANY BLOCKCHAIN INTERRUPTIBLE SERVICE (“BCIS”) REQUEST FOR
      PROPOSAL (“RFP” or “competitive bid”) submitted by BitMain Technologies Ltd., or any of
      Bitmain’s subsidiary, holding, or partner companies, including but not limited to Bitmain
      Technologies Georiga Limited, Bitmain Delaware Holdings, Inc., Bitmain Switzerland AG,
      Bitmain Technologies Holding Company, AntPool, and AntAlpha. Please note: BCB
      Cheyenne LLC has knowledge and belief RFPs were submitted by Bitdeer, YZY Capital,
      Crypto Knight Hosting, and approximately 12 other companies. Please note: this request is
      relevant, targeted, and is requesting only the following sections in Bitmain’s RFP submission:
      (1) Section 2 - Contact/Company Information, (2) Section 3 - Projection Specifics, and (3)
      Section 4 - Pricing Proposal.




     1
         https://contracts.justia.com/companies/cleanspark-inc-7310/contract/1283284/
       Case 1:23-cv-00079-ABJ Document 181-2 Filed 05/15/24 Page 4 of 4




Please also note: All documents and communication requests under this subpoena are being done
so on an emergency basis. CLFPC’s counsel, Todd Brink, has been provided the protective order
that was entered in this civil action on December 6, 2023. All documents and communication
requested and provided under this subpoena are protected and treated as confidential under this
civil action’s protective order.

Please email the documents and communication in the request above to pmurphy@wpdn.net
by May 21, 2024 at 10:00 a.m.


                             RESPECTFULLY SUBMITTED this 14th day of May 2024.

                                                  BCB CHEYENNE LLC d/b/a
                                                  BISON BLOCKCHAIN,

                                                  Plaintiff



                                            By:
                                                  Patrick J. Murphy, WSB No. 5-1779
                                                  Scott C. Murray, WSB No. 7-4896
                                                  WILLIAMS, PORTER, DAY & NEVILLE, PC
                                                  159 N. Wolcott Street, Ste. 400
                                                  Casper, WY 82601
                                                  (307) 265-0700
                                                  pmurphy@wpdn.net
                                                  smurray@wpdn.net

                                                  Attorneys for Plaintiff BCB Cheyenne LLC
                                                  d/b/a Bison Blockchain
